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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JASON GONZALES,                                  )
                                                 )
               Plaintiff,                        )
                                                 )     Case No. 16 cv 7915
v.                                               )
                                                 )     Judge: Matthew F. Kennelly
MICHAEL J. MADIGAN, et al.,                      )
                                                 )
               Defendants.                       )

                DEFENDANTS’ JOINT REPLY IN SUPPORT OF
         DEFENDANTS’ RULE 56(A) MOTION FOR SUMMARY JUDGMENT

         Defendants Michael J. Madigan, Friends of Michael J. Madigan (“Friends”), 13th

Ward Democratic Organization (“13th Ward”), Shaw Decremer, Silvana Tabares, Joe

Barboza, and Grasiela Rodriguez (collectively “Defendants”) submit their joint reply in

support of their Rule 56(a) Motion for Summary Judgment and Joint Brief in Support of

their Rule 56(a) Motion for Summary Judgment (collectively “Motion”) (Dkt. #277, 278).

                                        Argument

         As Defendants showed in their opening brief (at pp. 6‐8), federal courts strictly

limit the scope of their review of state elections. Candidates challenging their

opponents’ campaign practices are expected to air these complaints publicly and

capitalize on them at the polls. “The right response” to a “dirty election tactic,” the

Seventh Circuit recently held, is to “campaign[]” on the issue, for “[t]he price of political

dirty tricks must be collected at the ballot box rather than the courthouse.” Jones v.

Markiewicz‐Qualkinbush, 892 F.3d 935, 939‐40 (7th Cir. 2018).



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         To be sure, Smith v. Cherry, 489 F.2d 1098 (7th Cir. 1973) (per curiam), recognized

an exception to this rule under the Equal Protection Clause, and Plaintiff Jason Gonzales

strives to fit his case within that exception. But Smith requires Gonzales to make several

showings, and he has not marshalled evidence supporting any of them, meaning his

equal protection claim ultimately fails on each of four independent grounds. His claim

under 42 U.S.C. § 1985(3) likewise fails, and Gonzales offers no meaningful response to

Defendants’ showing that he is not a proper party to seek the relief he requests. Finally,

Defendants showed in their opening brief (at p. 27) that Gonzales’ remaining state law

claims fail, and Gonzales offers no meaningful response, so Defendants are entitled to

summary judgment on those claims as well.

I.       Gonzales’s Equal Protection Claim Fails On Four Independent Grounds.

         As Defendants showed in their opening brief (at pp. 10, 12), Smith recognizes an

equal protection claim where (1) a candidate whose name appears on the ballot has

agreed not to serve if elected, (2) this agreement was not publicly known before the

election, (3) there is a reasonable likelihood that the undisclosed scheme affected the

election’s outcome, and (4) those behind the scheme acted under color of state law. Def.

Br. 11. In response, Gonzales makes clear (at pp. 5‐7) that he bases his equal protection

claim on the theory recognized in Smith,1 but he asks this Court to expand or overlook



1 Gonzales does raise one “alternative” equal protection theory that does not rely on “Smith and Rudisill.”
Pl. Br. 7. For this, he cites Esmail v Macrane, 53 F.3d 176 (7th Cir. 1995). But in Esmail, the defendant mayor
allegedly denied the plaintiff a liquor license as part of “an orchestrated campaign of official harassment

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that theory’s well‐defined elements. This is a sharp break from Plaintiff’s initial position

that Smith has “a fact pattern quite similar to Defendants’ use of sham candidates

Barboza and Rodriguez.” (Dkt. #53, pg. 3). Following discovery, however, Plaintiff has

no choice but to ask the Court to recognize an unprecedented new version of Smith’s

equal protection claim—well beyond the narrow cause of action recognized in that

case—because the record includes no evidence supporting any of the Smith elements

that the Seventh Circuit and other courts have consistently recited and applied. See

Rudisill v. Flynn, 619 F.2d 692, 694 (7th Cir. 1980); see also Grimes v. Smith, 585 F. Supp.

1084, 1092 (1984) (Posner, J., sitting by designation) (“subsequent cases in this circuit . . .

have read [Smith] very narrowly”).

        A.      Gonzales Does Not Allege, Much Less Present Evidence, That Voters
                Were Deceived “As To The Actual Effect Of Their Votes.”

        At the threshold, the equal protection claim recognized in Smith requires the

existence of a “sham” candidate.2 Smith, 489 F.2d at 1100, 1103. Accordingly, Gonzales

parrots that term throughout his brief in describing Defendants Joe Barbosa and

Grasiela Rodriguez. But even if everything Gonzales alleges were true, Barbosa and

Rodriguez were not “sham” candidates as Smith used that term. Rather, to make out an

directed against him out of sheer malice.” Id. at 179. Of course, granting a liquor license requires state
action, unlike the alleged conduct here, and Gonzales was not denied anything, for he was on the ballot
and ran a campaign that all agree would have failed regardless of the two candidates whom Gonzales
challenges as “shams.” See infra § I.C. In any event this new, class‐of‐one equal protection theory is
forfeited. See Bassiouni v. CIA, 2004 WL 1125919, at *25 (N.D. Ill. 2004) (plaintiff cannot create genuine
issue of material fact by raising arguments on summary judgment that were not raised in the complaint).
2 Notwithstanding Gonzales’ unsupported assertion to the contrary (at pp. 4‐5), Defendants have
consistently recognized that Gonzales is raising an equal protection claim.

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equal protection claim, the ballot itself must lie—there must be “deception on the face

of the ballot,” Smith, 489 F.2d at 1102—meaning it must “deceiv[e] voters as to the actual

effect of their votes,” Rudisill, 619 F.2d at 694 (emphasis added).

       And for a ballot to deceive voters as to the effect of their votes, a candidate whose

name appears must not be prepared to serve if elected—that is, a vote for “the sham

candidate whose name appeared on the ballot was really a vote for another undisclosed

person.” Id. As courts have repeatedly recognized, this lie as to a vote’s true effect—as

to who the voter is actually choosing for office—is an essential element of the equal

protection theory recognized in Smith. See Def. Br. 10.

       Gonzales does not allege, much less show, such deception here. To be sure, he

recites a litany of what he characterizes as “evidence to persuade a jury” that Barboza

and Rodriguez were “[r]ecruited and [s]upported by the Madigan [p]olitical

[m]achine.” Pls. Br. 8‐10. But even if this properly characterized the record (and it does

not), it is entirely irrelevant. What matters is that there is no dispute that a vote for

Barboza was a vote for Barboza and a vote for Rodriguez was a vote for Rodriguez.

Indeed, Plaintiff admits that “[h]ad Barboza or Rodriguez won the 2016 Primary

Election, he or she would have been the Democratic nominee in the 2016 general

election,” and further concedes that “Madigan would have supported Barboza or

Rodriguez” in that election. Dkt. 291, ¶¶ 69, 71. Accordingly, voters were not deceived

as to the effect of their votes.


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       Gonzales’ only remaining response is meritless. He borrows Smith’s phrase that

there must be “‘deception on the face of the ballot,’” Pls. Br. 7; see also id. at 6 (quoting

elsewhere from Smith), without acknowledging that the Seventh Circuit interprets this

to require a showing that voters were deceived as to the “actual effect of their votes”—

that is, that “a vote for the sham candidate whose name appeared on the ballot” was

actually “a vote for another undisclosed person,” Rudisill, 619 F.2d at 694. Nor does

Gonzales offer a definition of his version of a “sham” candidate, other than to say that it

is anyone who in his view fails to run a “legitimate campaign.” Pls. Br. 8. But a ballot

that includes such candidates does not deceive voters as to the effect of their votes, so

long as these purportedly “sham” candidates would serve if elected, something no one

disputes here. And Plaintiff’s definition of a “sham” candidate—based on the time and

other resources he or she devotes to the campaign—is both impossible to administer

and would disproportionately subject less popular and well‐funded candidates to the

threat of litigation. See Defs. Br. 13‐14.

       In short, Gonzales does not allege, much less marshal evidence to show, that the

2016 primary ballot deceived voters as to the effect of their votes. On this basis alone,

Defendants are entitled to summary judgment on his equal protection claim.

       B.      That Barbosa And Rodriguez Were Purportedly “Sham” Candidates, As
               Plaintiff Misuses That Term, Was Well Publicized In Any Event.

       As explained in Defendants’ opening brief (at p. 14), even the appearance of a

real “sham” candidate—one who agrees in advance not to serve—does not give rise to

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an equal protection claim if the “sham” was publicly disclosed. Quite simply, if the

“sham” was known to the electorate, voters were not “deceiv[ed].” Rudisill, 619 F.2d at

694.

        Here, the undisputed facts show that Gonzales widely publicized his charge that

Barboza and Rodriguez were sham candidates. SOMF ¶ 46. The media ran numerous

stories on the issue, and Gonzales even poll‐tested the effectiveness of the message with

voters. Id. ¶¶ 48, 54, 63.

        Gonzales responds (at p. 11) that “Defendants would have this Court determine

the collective subjective knowledge of an electorate from three years ago as to the

quantum of understanding [] the public had given the isolated instances of

communication.” Pls. Br. 11. But the undisputed facts show that Plaintiff’s “sham”

allegations were well publicized, and Barbosa’s and Rodriguez’s failure to produce

yard signs or hold rallies—reasons why Gonzales claims they were not “legitimate”

candidates—were obvious to anyone who cared to look.3 It is Plaintiff’s burden to show

that the sham he alleges was nevertheless undisclosed, something he obviously fails to

do. See Block v. Marino, 819 F. Supp. 349 (S.D.N.Y. 1993) (dismissing claim because

“‘sham’ was disclosed to voters” before election). On the contrary, the unrefuted

3 Plaintiff complains (at p. 11) that Rudisill is distinguishable because there no one “misunderstood the
issue placed on the ballot.” But the same is true here. Just as Rudisill distinguished the alleged fraud in
that case from the deception in Smith, where “a vote for the same candidate whose name appeared on the
ballot was really a vote for another undisclosed person,” 619 F.2d 694, here no one “misunderstood the
issue” on the ballot because a vote for Barbosa or Rodriquez was a vote for Barbosa or Rodriquez. And
again, if the supposed deception was that these candidates were not running what Gonzales considers
“legitimate campaigns,” this too was well publicized.

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evidence establishes—not that the electorate was unaware of Gonzales’ claims against

Barbosa and Rodriguez—but that both Hispanic and white voters found claims about

“sham” candidacies to be of little importance. SOMF ¶¶ 54, 63.

      For this reason, too, Defendants are entitled to summary judgment on Gonzales’

equal protection claim.

      C.     Gonzales Fails To Show Any Impact On The Election, As Required To
             Sustain His Equal Protection Claim.

      Gonzales also must establish a “reasonable possibility that [Barbosa’s and

Rodriguez’s] candidac[ies] affected the outcome of the election.” Smith, 489 F.2d at 1103.

And as Defendants set out in their opening brief, the undisputed facts show that these

candidacies had no impact on the outcome of that race. Among other evidence,

Madigan won by a sizeable margin well in excess of Gonzales, Barbosa and Rodriguez’s

votes combined; unrebutted survey evidence showed that ethnicity was of little

importance to Hispanic primary voters, contrary to Gonzales’ presumption; and

Gonzales’ own expert, Dick Simpson, refused to opine that Gonzales would have won

the primary if Barbosa and Rodriquez had not run. Def. Br. 17‐20.

      Gonzales offers almost no response. He cites his own deposition for the assertion

that “the effect of the sham candidates went far beyond vote totals,” making it

impossible to answer the “metaphysical” question of who would have won the primary

if Barbosa and Rodriguez had not been on the ballot. Def. Br. 13. But it is the plaintiff’s

burden to make that showing, using the evidence and expert testimony, and Gonzales’

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expert simply refused to reach that conclusion. On the contrary, Simpson estimated that

Gonzales might have garnered 40% of the vote in a head‐to‐head race with Madigan,

though Simpson conceded that even that was only “a guess.” SOMF ¶¶ 89‐91. In any

event, Gonzales supports his statement that “the effect of sham candidates went far

beyond vote totals” with his own testimony reciting purported statements from

unnamed voters—inadmissible hearsay that cannot be used to create a question of fact

on summary judgment. See Winskunas v. Birnbaum, 23 F.3d 1264, 1268 (7th Cir. 1994).

       In short, while this Court gave Gonzales the opportunity “to produce evidence”

showing that “a candidate‐packed primary ballot, including three Hispanic candidates

in a heavily Hispanic district, would lead to voter confusion and drive them toward the

incumbent or keep them from voting,” Dkt. 89 at 4, Gonzales failed to find any evidence

to support that theory.

       Instead, with no record support for this element of his equal protection claim, he

asks the Court to overlook the element entirely, claiming he “has no burden to prove he

would have won the 2016 Primary election” after all. Pls. Br. 12. In Smith, Gonzales

contends, plaintiffs needed to prove a likely effect on the outcome of the election

because they sought “to overturn the electoral result,” while Gonzales “does not contest

that outcome and does not seek a new election” but rather complains of his “denial of

equal protection within that election, regardless of the result.” Id. at 12‐13.




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       But this new theory suffers from multiple problems. First, it breaks sharply from

Gonzales’ complaint, which alleges that his equal protection rights were violated based

on the effect of Defendants’ alleged conduct on the election. He contends that

Defendants “dilute[ed] the Hispanic vote by registering two fake candidates with Hispanic

surnames,” aimed “to prevent [him] from winning election,” and achieved their aims

“by means of the use of sham candidates, defamation, and dilution of votes.” Dkt. 68,

¶¶ 120, 362, 367 (emphasis added). In short, Gonzales bases his equal protection claim

on Defendants’ alleged threat to the success of his candidacy, not on an abstract interest

unrelated to the election result.

       Second, because Gonzales brings his claim as an unsuccessful candidate, Smith’s

requirement that he show a likely effect on the election must apply. Gonzales alleges he

was affected as a candidate for office, not as a voter, meaning any harm would derive

from the effect of Defendants’ actions on his candidacy. See Smith, 489 F.2d at 1004.

Otherwise, this lawsuit would in essence be one for emotional distress resulting from

the mere participation of two allegedly “sham” candidates, and such a claim is not

actionable. When it comes to “electioneering intrigues, the meannesss of candidates,

and the calumnies of their opponents,” “[t]he legal system leaves most of these matters

to the political process, not the courts.” Manley v. Law, 889 F.3d 885, 889 (7th Cir. 2018)

(internal quotations omitted).




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      Third, Gonzales rests his new equal protection theory on Kozuszek v. Brewer, 546

F.3d 485 (7th Cir. 2008), Pl. Br. 12, but that decision shows why Gonzales may not assert

his new theory. Kozuszek affirmed the dismissal of a § 1983 claim based on the allegedly

unconstitutional refusal to count the plaintiffs’ votes. 546 F.3d at 490. In a “final

observation” at the end of the opinion, however, the court notes in dicta that plaintiffs

would not have needed to show that, if counted, their votes would have affected the

outcome of the election. Id. That is because the case involved the plaintiffs’ “act of

voting—an individual’s ability to express his or her political preferences at the ballot

box,” and “[a]n official who willfully interferes with this act violates the Constitution,

regardless whether the vote would have affected the election outcome.” Id.

      Gonzales does not seek to vindicate his rights as a voter. On the contrary, he

voted for himself, and his vote was counted. SOMF ¶ 98. Nor would he have standing

to advance claims on behalf of other voters. Warth v. Seldin, 422 U.S. 490, 503 (1975) (An

equal protection plaintiff “must allege and show that [he] personally [has] been injured,

not that injury has been suffered by other, unidentified members of the class to which

they belong and which they purport to represent.”). The constitutional claim recognized

in Kozuszek—the only authority on which Gonzales bases his new equal protection

theory—therefore has no application here.

      In sum, Gonzales brings his equal protection claim as a disappointed primary

candidate, and Smith thus requires him to show a “reasonable likelihood” that


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Defendants’ alleged conduct changed the outcome of the election. Because Gonzales

failed to find any evidence to support this showing, Defendants are entitled to

summary judgment on this claim.

       D.     Defendants Were Not Acting Under Color Of State Law.

       As Defendants showed in their opening brief (at pp. 20‐23), nothing in the case

suggests that Defendants were acting under color of state law, another element of

Gonzales’ equal protection claims. Specifically, Gonzales must show that Defendants’

alleged conduct is related “to the performance of the duties of the[ir] state office[s].”

Wilson v. Price, 624 F.3d 389, 392 (7th Cir. 2010). The law is clear that elected officials are

not state actors when they engage in conduct as candidates for office, nor is it state

action for government officials to exploit the prestige of their position. Def. Br. 21‐23.

       Gonzales offers nothing meaningful in response. Instead, he spends pages

purportedly showing “action under color of law due to the clout and power of ‘The

Speaker,’” claiming that “[w]ithout such clout and power, the scheme” he alleges

“could have never succeeded.” Def. Br. 19. He then marshals “facts” purporting to show

that “Madigan’s power rests on two bases: money and jobs.” Id. at 20. But neither of

these supports a finding of state action. “Money” refers to two political accounts, id. 20,

neither of which was procured under “color of law.” The state does not appropriate




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funds to such accounts, nor is state action needed to collect campaign funds, as

Gonzales’ own ability to do so makes clear.4

        Gonzales’ reference to “jobs” is no better. This refers to an “admi[ssion]” that

Madigan “made recommendations for employment in both the private and public

sector.” Id. But public officials have “a First Amendment right to make

recommendations for employment.” Winkelman v. Magne, 173 F. Supp. 2d 821, 825 (C.D.

Ill. 2001) (citing Tarpley v. Keistler, 188 F.3d 788, 793‐95 (7th Cir. 1999); Vickery v. Jones,

100 F.3d 1334, 1344‐45 (7th Cir. 1996)). And Gonzales cannot sustain a § 1983 claim

based on a Defendant’s exercise of that right. See Tarpley v. Keistler, 188 F.3d 788, 796‐97

(7th Cir. 1999) (“In this case, political speech of a well‐recognized genre [job

recommendations] is at stake, and we will not allow a claim of conspiracy to undermine

it. ‘We are loathe to interpret section 1983 to proscribe what we thus understand to be

traditional political activity.’”).

        In any event, Gonzales presents no evidence that Madigan (or Tabares, the only

other state‐official Defendant) used money or job recommendations to get Barboza or

Rodriguez on the ballot. Gonzales merely ties his “facts” together with mere conjecture




4 If correct, Gonzales’ campaign‐fund theory would imply that he acted under “color of law” if he
conspired with a state actor, former Governor Bruce Rauner, and Rauner’s Republican allies to raise
Gonzales’ campaign funds.

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that Madigan somehow must have been involved.5 But such conjecture is insufficient to

defeat summary judgment. Delapaz v. Richardson, 634 F.3d 895, 901 (7th Cir. 2011).

        Gonzales asks the Court to overlook the absence of factual support for his claim,

claiming he is “not required to demonstrate a specific fact that unambiguously

demonstrates state action, since the question is whether ‘the aggregate of all relevant

factors’ allows such a conclusion.” Def. Br. 14‐15 (citing Jackson v. Metro. Edison Co., 419

U.S. 345, 360 (1974)). But Gonzales omits the fact that his quotation to Jackson comes

from Justice Douglas’ dissent in that case, see Jackson, 419 U.S. at 360 (Douglas, J.,

dissenting), not from the majority opinion.

        Nor does Shakman v Democratic Org. of Cook County, 435 F.2d 267, 280 (7th Cir.

1970), support Gonzales’ claim, as he contends (at pp. 2, 15). Indeed, there was “no

argument” even raised in that case that the state‐official defendants were not “acting

under color of law in making the appointments” at issue. Shakman, 435 F.2d at 269.6

        Gonzales also argues that Defendants engaged in state action because the Illinois

Election Code, 10 ILCS 5/1‐1. et seq., governs the placement of candidates on the ballot.

Def. Br. 17. But this Court has already rejected that theory, recognizing that it would



5For example, Gonzales claims Barbosa received “rewards” from people connected with the Town of
Cicero, without any evidence connecting Madigan and Cicero. Def. Br. 22. Likewise, Plaintiff claims
Rodriguez was “rewarded” with a job at a company that has contributed to Alderman Ed Burke’s
political committee, without evidence suggesting a connection to Madigan. Id.
6Gonzales also fails to mention a later appeal in the same litigation, criticizing the earlier opinion, on
which Gonzales relies, because that opinion did not “precisely define[ ]” or offer “much guidance” on the
constitutional rights purportedly at stake in that case. Shakman v. Dunne, 829 F.2d 1387, 1391 n.7, 1395.

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mean that “every claim of election fraud or violation of a state election statute would

give rise to a federal suit under section 1983” and that “[t]he Seventh Circuit has held

. . . that section 1983 does not have such a broad scope. See Hennings v. Grafton, 523 F.2d

861, 864 (7th Cir. 1975).” Dkt. 64 at 10. Accordingly, this Court made clear that its “grant

of Gonzales’s motion to alter its judgment of dismissal d[id] not rest on this basis.” Id.

       Without legal or record support for his claim that any Defendant acted under

color of state law, Gonzales’ equal protection claims fail.

II.    Plaintiff Has No Actionable Damages.

       As Defendants showed in their opening brief (at p. 27), “federal courts do not sit

to award post‐election damages to defeated candidates.” Hutchinson v. Miller, 797 F.2d

1279, 1287 (4th Cir. 1986). Gonzales responds (at p. 28) by claiming that Hutchinson was

an application of Younger abstention (it was not), followed by the unremarkable point

that Younger does not apply here. Nor is there anything to Gonzales’ claim (at p. 28) that

Hutchinson somehow conflicts with the Seventh Circuit’s decision in Hennings, which

Hutchinson not only cited with favor (as Gonzales acknowledges), but involved an

unsuccessful voter claim for injunctive relief—hardly evidence that the Seventh Circuit

has embraced damages claims for unsuccessful candidates.

III.   Plaintiff Has Not Shown The Racial Animus Required For A § 1985(3) Claim.

       Gonzales introduces no evidence to suggest that Defendants were motivated by

racial animus. To the contrary, as noted in Defendants’ opening brief (at p. 26),



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Gonzales testified that Defendants acted “to defend Speaker Madigan, the incumbent’s

power,” not because they “had any racial hang‐ups against” him. Gonzales offers only

his own speculation in response, and even that is limited to the allegation that his “race

had a significant bearing” on Defendants’ “decision to put in two candidates with

Hispanic names.” Pls. Br. 26, citing PSOF ¶ 99. But even if such self‐serving speculation

could defeat summary judgment, what Gonzales alleges is (in his view) a strategic effort

to confuse voters, not the animus required to sustain a § 1985(3) claim. See, e.g., Curtis v.

GTE Comm’n Sys. Corp., No. 90 C 0633, 1990 WL 106511, at *6 (N.D. Ill. July 12, 1990)

(“§ 1985 does not provide a remedy for . . . political vendettas, unless they are motived

by ‘some racial, or perhaps otherwise class‐based, invidiously discriminatory animus’”)

(quoting Griffin v. Breckenridge, 403 U.S. 88, 102 (1971)).

IV.      Gonzales Has No Evidence Of An Actionable Conspiracy.

         Finally, Gonzales (at p. 26) offers nothing to suggest that any Defendant reached

an understanding with a state actor to deny Gonzales his rights. Rather, his theory rests

entirely on speculation and conjecture, see supra Section I.D., which is insufficient to

defeat summary judgment. Beaman v. Freesmeyer, 776 F.3d 500, 511 (7th Cir. 2015).

                                         Conclusion

         For all of the reasons stated above, Defendants respectfully request that this

Court grant their Rule 56(a) Motion for Summary Judgment and enter judgment in their

favor.


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                                        Respectfully submitted,



                                        /s/ Adam R. Vaught
                                        Adam R. Vaught




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Adam R. Vaught                                Sean Michael Sullivan
Vincent M. Rizzo                              Del Galdo Law Group, LLC
Carson R. Griffis                             1441 S. Harlem Ave.
Hinshaw & Culbertson LLP                      Berwyn, IL 60402
151 North Franklin Street, Suite 2500         Telephone: (773) 562 3090
Chicago, IL 60606                             sullivan@dlglawgroup.com
Telephone: 312‐704‐3000                       grandfield@dlglawgroup.com
avaught@hinshawlaw.com                        Attorneys for Shaw Decremer
Attorneys for Michael J. Madigan
                                              Michael Kreloff
Michael J. Kasper                             Law Offices of Michael Kreloff
151 North Franklin Street, Suite 2500         3710 Commercial Ave. Ste. 5
Chicago, IL 60601                             Northbrook, IL 60062
Telephone: 312‐704‐3292                       Telephone: (847)525‐1139
mjkasper60@mac.com                            capitolaction@yahoo.com
Attorney for Friends of Michael J. Madigan    Attorney for Shaw Decremer
and 13th Ward Democratic Organization
                                              James Patrick Nally
Richard J. Prendergast                        James P. Nally PC
Deirdre Ann Close                             8 South Michigan Avenue, Suite 3500
Michael Thomas Layden                         Chicago, IL 60603
Richard J. Prendergast, Ltd.                  Telephone: 312‐422‐5560
111 West Washington Street , Suite 1100       jamesnally@goldmanlegalhelp.com
Chicago, IL 60602                             Attorney for Joe Barboza
Telephone: (312) 641‐0881
rprendergast@rjpltd.com                       Scott Brent Erdman
dclose@rjpltd.com                             The Law Offices Of Scott B Erdman
mlayden@rjpltd.com                            8 S. Michigan Avenue, Suite 3500
Attorneys for Silvana Tabares                 Chicago, IL 60603
                                              Telephone: (312) 263‐5700
                                              ScottErdman@ErdmanLawOffices.com
                                              Attorney for Grasiela Rodriguez




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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on July 29, 2019, I electronically filed the forgoing
DEFENDANTS’ JOINT REPLY IN SUPPORT OF DEFENDANTS’ RULE 56(A)
MOTION FOR SUMMARY JUDGMENT with the Clerk of the U.S. District Court, using
the Court’s CM/ECF system, which will accomplish service electronically on all counsel
of record.

                                                       /s/ Adam R. Vaught




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